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GJR/da
00016-86201
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                            ■X
FELIPE F. VIVAR,
                            Plaintiff,           MEMORANDUM OF LAW

              -against-                          Civil Action No.:
                                                 18 CV 5987 (VSB)
CITY OF NEW YORK, ANGEL BUSSUE, JOHN DOE
HRA EMPLOYEE #1, JOHN DOE POLICE                 JURY TRIAL DEMANDED
OFFICERS #1-18, JOHN DOE SECURITY GUARDS
#1-4, JOHN DOE PARAMEDICS #1-2, NEW YORK
PRESBYTERIAN HOSPITAL, DINO DIAZ, VALERIE
SOTO, RIVAS SEARS, GRACIE SQUARE HOSPITAL
and DR. REBECCA KASTOPOULOUS,
                            Defendants.
                                             X




                             MEMORANDUM OF LAW
              IN SUPPORT OF THE PRE-ANSWER MOTION TO DISMISS
          BY DEFENDANT THE NEW YORK AND PRESBYTERIAN HOSPITAL,
                    s/h/a NEW YORK PRESBYTERIAN HOSPITAL




Of Counsel:   Gregory J. Radomisli (2670)




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                                 PRELIMINARY STATEMENT

          This Memorandum of Law is respectfully submitted on behalf of defendant THE NEW

YORK AND PRESBYTERIAN HOSPITAL, s/h/a NEW YORK PRESBYTERIAN

HOSPITAL, in support of its pre-Answer motion for an Order dismissing plaintiffs Amended

Complaint pursuant to Rules 8(a)(2) and 12(b)(6) of the Federal Rules of Civil Procedure, and

for such other and further relief as this Court deems just and proper.

          As discussed in greater detail below, plaintiff cannot maintain a cause of action for an

alleged violation of his civil rights pursuant to 42 USC §1983 against THE NEW YORK AND

PRESBYTERIAN HOSPITAL, s/h/a NEW YORK PRESBYTERIAN HOSPITAL because it

is not a “person” that can be subject to §1983 claims. See e.g. Schoolcraft v. City ofNew York,

103 F.Supp.3d 465, 531 (S.D.N.Y. 2015). Secondly, plaintiffs Amended Complaint does not

set forth any basis for liability of a private entity for the alleged constitutional violations of its

employees under Monell v. Department of Social Services, 436 U.S. 658 (1978). Accordingly,

it is respectfully requested that this Court dismiss plaintiffs Amended Complaint.



                                   PROCEDURAL HISTORY

          Plaintiff filed an Amended Complaint on November 7, 2018 (Exhibit “A”). On January

2, 2019, defendant THE NEW YORK AND PRESBYTERIAN HOSPITAL, s/h/a NEW

YORK PRESBYTERIAN HOSPITAL (“NYPH”) filed a Notice of Appearance (“Exhibit “B”).

On January 3, 2019, this Court issued an Order granting NYPH’s request to make a pre-Answer

motion to dismiss plaintiffs Amended Complaint on or before February 15, 2019 (Exhibit

 C”).




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                          PLAINTIFF’S AMENDED COMPLAINT

          The pertinent allegations as to THE NEW YORK AND PRESBYTERIAN HOSPITAL,

s/h/a NEW YORK PRESBYTERIAN HOSPITAL asserted in the Amended Complaint (Exhibit

“A”) are as follows: Plaintiff alleges that on or about June 21, 2018, someone from the

Selfhelp Community Serviees (“Selfhelp”) called the police to go to plaintiff s apartment and

escort him to the hospital (Exhibit “A”, 19). At approximately 10:00 a.m., the police entered

plaintiffs apartment without his permission (Exhibit “A”, 111), and told him they were going

to take him to a hospital for an evaluation to determine if he was an imminent danger to himself

or others (Exhibit “A”, 114).       The police took the plaintiff to the NYPH Emergency

Department (Exhibit “A”, 115).

          According to the Amended Complaint, the plaintiff was allegedly searched and, after

having waited several hours, was subsequently evaluated by a physician (Exhibit “A”, 118-19).

The plaintiff also spoke to some nurses, who allegedly told the plaintiff that he needed to “take

pills” to be released from the hospital (Exhibit “A”, 119). He also claims that he was not

treated for his breathing problems {Id.). He was discharged on June 22, 2018 (Exhibit A ,

120).

          On or about August 3, 2018, codefendant DINO DIAZ knocked on plaintiffs door, and

entered his apartment (Exhibit “A”, 128).       The plaintiff believed that DINO DIAZ was

harassing him, so he called the police {Id.). When the police arrived, they allegedly entered the

plaintiffs apartment without his permission, and involuntarily placed him in an ambulance to

go to the hospital (Exhibit “A”, 129-31). The police brought him to NYPH (Exhibit “A”, 133).

          According to the Amended Complaint, the plaintiff requested to have his inhaler, but

the request was denied (Exhibit “A”, 133).         He was then searched, and transferred to




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codefendant GRACIE SQUARE HOSPITAL (Exhibit “A”, 133), where he remained

involuntarily hospitalized for 10 days (Exhibit “A”, 135).

          The plaintiff brings this action pursuant to 42 USC §1983 alleging violations of his

4“^ and 14“’ Amendment rights (Exhibit “A”, p. 2). He also alleges unspecified “pendent state

claims” {Id.).


                                              POINT I

                     PLAINTIFF’S §1983 CLAIMS MUST BE DISMISSED

          A.      The New York and Presbyterian Hospital is Not a State Actor

          Section 1983 does not create substantive rights, but provides a “procedure of redress for

the deprivation of rights established elsewhere.     Thomas v. Roach, 165 F.3d 137, 142 (2d Cir.

1999). In order to succeed on a cause of action under §1983, a plaintiff must prove 1) that the

defendant was acting under color of state law and 2) that such conduct deprived the plaintiff of

a right, privilege or immunity guaranteed by the federal constitution or federal law. Flagg

Bros., Inc. v. Brooks, 436 U.S. 149, 155, 98 S.Ct. 1729 (1978); see also Pitchell v. Callan, 13

F.3d 545, 547 (2d Cir. 1994). Because the U.S. Constitution does not regulate private parties, a

plaintiff claiming his constitutional rights have been violated must first establish that the

challenged conduct constitutes state action. Ciambriello v. County of Nassau, 292 F.3d 307,

323 (2d Cir. 2002).       To state a claim under §1983, then, a plaintiff must allege that he was

injured by either a state actor or a private party acting under color of state law. Id. An act that

is not performed under color of law (i.e., merely private conduct) is not a violation of §1983

“no matter how discriminatory or wrongful” the act may be. American Mfrs. Mut. Ins. Co. v.

Sullivan, 526 U.S. 40, 119 S.Ct. 977 (1999).




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          Although the Amended Complaint is silent as to eorporate NYPH’s status, defendant

filed a Rule 7.1(a) Diselosure Statement indicating that NYPH is a private entity (Exhibit “C”).

This Court has “complete discretion” to consider this Disclosure Statement on a 12(b)(6)

motion, even though it was not part of the Amended Complaint. See Halebian v. Berv, 644

F.3d 122, 131 n.7 (2d Cir. 2011). Furthermore, other Courts have recognized that NYPH is not

a public institution. See e.g. Mejia v. Davis, 2018 U.S.Dist. LEXIS 3064 (S.D.N.Y. Jan. 7,

2018).

          Because plaintiff does not—and cannot—allege that NYPH and its employees are state

actors or acted under color of state law, plaintiff cannot maintain a claim against NYPH for a

constitutional violation. As such, it is respectfully submitted that this Court must dismiss

plaintiffs Amended Complaint.



          B.     The New York and Presbyterian Hospital Cannot Be Subject
                 To Direct Liability Under 42USCS1983

          Section 1983 of Title 42 of the United States Code provides, in relevant part: “Every

person who, under color of any statute. . .subjects or causes to be subjected, any citizen of the

United States. . . to the deprivation of any rights. . . secured by the Constitution and laws, shall

be liable to the party injured.” 42 USC §1983. Thus, a §1983 action can only be maintained

against a “person” who has deprived another of his or her constitutional rights. See e.g.

Reynolds v. Darrah, 2011 U.S.Dist. LEXIS 113621 (S.D.N.Y. Sept. 30, 2011). As the Court

noted in Reynolds, “Jails, courts, corporations and law firms are not ‘persons’ within the

meaning of §1983.       2011 U.S.Dist. LEXIS 113621 at *3. In Eng v. Bellevue Hospital, 2014

U.S.Dist. LEXIS 160887 (S.D.N.Y. July 8, 2014), this Court dismissed plaintiffs claims

against Bellevue Hospital because it found that “a hospital is not a ‘person’ under 42 U.S.C.


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§1983.” 2014 U.S.Dist. LEXIS 160887 at *12; see also Schoolcraft v. City of New York, 103

F.Supp.3d 465, 531 (S.D.N.Y. 2015) (Holding that direct claims against the defendant hospital

under §1983 fail as a matter of law); Mejia v. Davis, 2018 U.S.Dist. LEXIS 3064, *13

(S.D.N.Y. Jan. 7, 2018) (Dismissing §1983 claims against The New York and Presbyterian

Hospital, finding it was not a “person” under §1983).

          Accordingly, NYPH is not a “person” who can be subject to direct liability under 42

use §1983. Therefore, any direct claims in the Amended Complaint that plaintiff purportedly

asserts against NYPH should be dismissed.



          C.     The New York and Presbyterian Hospital Cannot be Held Vicariously Liable
                 for the Alleged Acts and/or Omissions of Anyone who Attended to the Plaintiff
                 While He Was at The New York and Presbyterian Hospital

          The plaintiff does not allege that the physicians, nurses, paramedics or security guards

who interacted with the plaintiff at NYPH on June 21, 2018-June 22, 2018 or on August 3,

2018 were NYPH employees. For the purposes of this argument only, NYPH assumes that

they were.

                  1.     The Doctrine oiRespondeat Superior Does Not Apply to §1983 Claims

          It is well-settled law that the doctrine of respondeat superior is inapplicable to §1983

claims. See Richardson v. Goord, 347 F.3d 431, 435 (2d Cir. 2003); Veloz v. New York, 339

F.Supp.2d 505, 519 (S.D.N.Y. 2004); Johnson v. Columbia University, 2003 U.S.Dist.LEXIS

20932 at *7 (S.D.N.Y. Apr. 25, 2003) (a private employer will not be liable for the

constitutional torts of its employees under the doctrine of respondeat superior in actions

brought pursuant to 42 USC 1983). In Dove v. City of New York, 2005 U.S.Dist.LEXIS 22178

(S.D.N.Y. Sept. 28, 2005), the plaintiff claimed that his civil rights were violated when he was



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involuntarily hospitalized under the Mental Hygiene Law. Plaintiff alleged that various private

entities eonspired with the personnel at various state hospitals to have him eommitted as

“punishment” for his having filed a eomplaint against one of the defendants. Dove at *4. The

defendants moved to dismiss the ease. The Court stated that it is “established that liability

under Seetion 1983 may not be predieated on a theory of respondeat superior or viearious

liability.” Dove at *8 {citing Dove v. Fordham University, 56 F.Supp.2d 330, 336 (S.D.N.Y.

1999))^ aff’dsub nom. Dove v. O’Hare, 210 F.3d 354 (2d Cir. 2000). Because the doctrine of

respondeat superior does not apply, plaintiffs Amended Complaint does not state a claim

against NYPH as a result of the alleged constitutional violations committed by any of the “John

Doe” defendants.


                 2.     Plaintiff Does Not Allege a Mone// Violation

          As discussed above, NYPH is a private entity. Private employers are not vicariously

liable under §1983 for the constitutional torts of their employees “absent allegations of conduct

pursuant to an official policy.      Dilworth V. Goldberg, 914 F.Supp.2d 433, 452 (S.D.N.Y.

2012); see Monell v. New York City Dep’t of Social Servs., 436 U.S. 658 (1978). Conclusory

allegations that a policy, practice or custom exists are not sufficient to survive a 12(b)(6)

motion. See Pizarro v. City of New York, 2015 U.S.Dist. LEXIS 131471 (E.D.N.Y. Sept. 29,

2015). A plaintiff must allege facts from which the court can infer the existence of a policy or

custom. Id.-, Swinton v. City of New York, 785 F.Supp.2d 3, 10 (E.D.N.Y. 2011) (to state a

§1983 claim, plaintiffs must provide more than conclusory allegations; they must add specific

factual support to show the existence of a pattern); see also Dwares v. City of New York, 985

F.2d 94 (2d Cir. 1993).

          A “policy” exists if there is a written directive or regulation, or an act by an employee


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with policymaking authority.      See Cerbelli v. City of New York, 600 F.Supp.2d 405, 410

(E.D.N.Y. 2009). A “custom” exists if the praetice is so widespread and permanent as to have

the force of law. Id. The “poliey or custom” requirement “is intended simply to distinguish

acts of the munieipality from aets of its employees, in order that municipal liability be limited

to conduet for which the munieipality is aetually responsible.” See Id. {citing Anthony v. City of

New York, 339 F.3d 129, 139 (2d Cir. 2003)).         A single incident is insufficient to raise an

inference of the existenee of a eustom, poliey or practice. Thomas v. City of New York, 2015

U.S.Dist.LEXIS 170607, *5 (E.D.N.Y. Dec. 22, 2015) {citing, Oklahoma City v. Tuttle, 471

U.S. 808, 823-24 (1985)).

           Based upon the foregoing, the allegations in plaintiffs Amended Complaint are

insufficient to state a claim. There is no allegation that anyone promulgated a written, official

policy of any sort. Nor does plaintiff provide a factual basis from which this Court could infer

that NYPH had any type of praetice to violate the eonstitution that eould be considered “so

widespread and permanent as to have the foree of law.” See Cerehelli, supra, at 410. There are

also no allegations suggesting that any of the actions taken against him were by a final policy

maker. See Monell, 435 U.S. at 690-91. Therefore, plaintiff cannot state a claim against NYPH

under Monell.

                                             POINT II

            THIS COURT SHOULD DECLINE TO EXERCISE SUPPLEMENTAL
          JURISDICTION OVER PLAINTIFF’S STATE-LAW CLAIMS AS TO NYPH

           On p. 2 of the Amended Complaint (Exhibit “A”), plaintiff asserts unspecified “pendant

state claims” as causes of action. A district court may not decline to exercise jurisdiction over

state law claims where federal claims remain against other defendants, and the state law claims

 form part of the same case or controversy.      Ciambriello v. County of Nassau, 292 F.3d 307,



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325 (2d Cir. 2001). The question this Court must decide, then, is whether the state law claims

against NYPH, and the federal claims against the other defendants, “derive from a common

nucleus of operative fact” and are thus part of the “same case or controversy.      Achtman v.

Kirby, Mclnerney & Squire, LLP, 464 F.3d 328, 335 (2d Cir. 2006). A state law claim forms

part of the same case or controversy as a federal claim if the claims “are such that one would

ordinarily expect them to be tried in one judicial proceeding.” Abrams v. Terry, 45 F.3d 17, 23

n. 7 (2d Cir. 1995) (quoting United Mine Workers ofAm. v. Gibbs, 383 U.S. 715 (1966)).

          Plaintiffs federal claims against the City of New York (and any other codefendants)

and the state claims against NYPH are sepai'ate and distinct. With respect to the June 2018

incident, plaintiffs federal claims against the codefendants are all premised on conduct that

was allegedly talcen against the plaintiff before he presented to NYPH on 6/21/18 (Exhibit “A”,

^4-15). Once he was brought to the NYPFI Emergency Department and was placed in a room,

“JOHN DOE POLICE OFFICERS #1-2 left” the room (Exhibit “A”, 1[18) (emphasis added).

Plaintiffs complaints of having been searched, having been retained in the hospital for a day,

having been told to “take pills,” and having been deprived of medical attention for his breathing

problems, all arise after the City of New York was involved. Thus, any claim against NYPH

sounding in, for example, false imprisonment or medical malpractice, begins and ends with the

time the plaintiff presented to and was released from the hospital, and outside the presence of

anyone affiliated with the City of New York. In other words, the facts surrounding the federal

claim pertain to events that transpired before the plaintiff was brought to NYPH, and the facts

surrounding any potential state claim pertain to events that transpired after he was brought to

NYPH. A trial could be held against NYPH based upon the limited encounter the plaintiff had

at NYPH without any need for the claims against the City to be tried at the same time. Thus,



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none of the facts pertaining to his claims against the City overlap with his potential claims

against NYPH. As such, this Court should decline to exercise supplemental jurisdiction over

plaintiffs state-law claims.

          Similarly, with respect to the August 2018 incident, any federal claims that the plaintiff

may have against the codefendants are not related to any claims the plaintitf may have

regarding his presentation to NYPH on 8/3/18. According to the Amended Complaint, the

plaintiff was placed in a room, interacted with security guards and a nurse, and then transferred

to   Gracie Square Hospital (Exhibit “A”, Tf33). He did not have any interaction with the police

after he was brought to NYPH. Any allegations against NYPH that may be related to the

events of 8/3/18 can be taken in isolation from plaintiffs claims against the codefendants, and

therefore the facts underlying the federal and state claims do not substantially overlap. As such,

this Court should decline to exercise supplemental juiisdiction over plaintiff s state-law claims.



                                             POINT III

               PLAINTIFF FAILS TO STATE A CLAIM UNDER STATE LAW

          If this Court decides to exercise supplemental jurisdiction over plaintiff s pendent state-

law claims, it should dismiss them.

          On p. 2 of the Amended Complaint (Exhibit “A”), plaintiff asserts unspecified “pendant

state claims” as causes of action. Plaintiff does not specify the specific causes of action

asserted, and none can be inferred as to NYPH itself In the absence of specific allegations of

misconduct against a pai'ticular defendant, plaintiff fails to state a cause of action upon which

relief may be granted as to that defendant. See Logan v. Matveevskii, 175 F.Supp.3d 209, n.2

(S.D.N.Y. 2016); Givens v. City ofNeM’ York, 2012 U.S.Dist. LEXIS 2892 (S.D.N.Y. Jan. 10,

2012); Clarke v. Flushing Manor Care Ctr., 2009 U.S.Dist. LEXIS 61410, *1-2, n.l (S.D.N.Y.


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July 17, 2009) (dismissing a named defendant when the complaint did not make any allegations

about how that defendant was liable to the plaintiff). Accordingly, this Court should dismiss

plaintiffs Amended Complaint in its entirety because it is not clear what NYPH is alleged to

have done wrong, or for whom it is allegedly responsible.



                                          CONCLUSION

          For the foregoing reasons, it is respectfully requested that this Court grant defendant’s

motion and dismiss the Amended Complaint as to THE NEW YORK AND PRESBYTERIAN

HOSPITAL, s/h/a NEW YORK PRESBYTERIAN HOSPITAL in its entirety, together with

such other and further relief as this Court deems just and proper.

Dated: New York, New York
       February 15, 2019
                                                   Respectfully submitted,.
                                                   Martin Clearwater & Bell LLP



                                                   By:
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